 8:08-cr-00151-LSC-FG3              Doc # 88   Filed: 09/17/08      Page 1 of 1 - Page ID # 160




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                       Plaintiff,                  )
                                                   )
        vs.                                        )                   8:08CR151
                                                   )
OSCAR COLMENARES-GONZALEZ and                      )                     ORDER
COLMENARES RODRIGUEZ INC.,                         )
                                                   )
                       Defendants.                 )


        This matter is before the court on the defendant's motion to continue trial (Doc. 87), for the
reasons that the defendant recently retained substitute counsel and co-counsel has been ill. Trial
will be continued to December 9, 2008. The defendant will be required to file an affidavit or
declaration regarding speedy trial in compliance with the Local Rules of Practice.

        IT IS ORDERED that the motion is granted, as follows:

        1.    The jury trial now set for October 7, 2008, is continued to Tuesday, December 9,
2008.

         2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of justice
will be served by granting this continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this motion,
that is, the time between October 7, 2008 and December 9, 2008, shall be deemed excludable
time in any computation of time under the requirement of the Speedy Trial Act due to co-counsel's
illness and the recent appearance of substitute counsel. Counsel require additional time to
adequately prepare the case, taking into consideration due diligence of counsel and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B)(iv).

      3. Defendant shall file an affidavit or declaration regarding speedy trial, as required by
NECrimR 12.1 and/or 12.3, no later than October 1, 2008.

        DATED September 17, 2008.

                                               BY THE COURT:

                                               s/ F.A. Gossett
                                               United States Magistrate Judge
